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                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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10          AMAZON.COM INC,                                   CASE NO. C20-694 MJP

11                                  Plaintiff,                MINUTE ORDER

12                  v.

13          ROBOJAP TECHNOLOGIES LLC, et
            al.
14
                                    Defendants.
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16
            The following minute order is made by the direction of the court, the Honorable Marsha
17
     J. Pechman, United States Senior District Judge:
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            The Court has reviewed the Status Report filed by Plaintiff. (Dkt. No. 117.) The Court
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     hereby ORDERS Plaintiff to file a status report every 90 days from the date of this Minute Order
20
     to inform and update the Court as to the status of service on the remaining defendants. The status
21
     report must detail the efforts Plaintiff has taken to effectuate service and any other information
22
     relevant to the issue of service of process.
23
     \\
24


     MINUTE ORDER - 1
            Case 2:20-cv-00694-MJP Document 119 Filed 11/22/21 Page 2 of 2




 1         The clerk is ordered to provide copies of this order to all counsel.

 2         Filed November 22, 2021.

 3
                                                   Ravi Subramanian
 4                                                 Clerk of Court

 5                                                  s/Serge Bodnarchuk
                                                    Deputy Clerk
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     MINUTE ORDER - 2
